                                   1

                                   2

                                   3

                                   4                                UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                         IN RE GOOGLE RTB CONSUMER                         Case No. 21-cv-02155-YGR (VKD)
                                   7     PRIVACY LITIGATION
                                   8
                                                                                           ORDER STRIKING SHAFIQ
                                   9                                                       DECLARATION AND EXHIBITS

                                  10

                                  11

                                  12
Northern District of California
 United States District Court




                                  13          The Court strikes the declaration of Zubair Shafiq and its attached exhibits A–H (Dkt. Nos.

                                  14   241-1 through 241-9 (unredacted copies at Dkt. Nos. 240-4 through 240-12)) filed in support of

                                  15   plaintiffs’ supplemental submission for failure to comply with the word limits set in the Court’s

                                  16   June 15, 2022 Order re Supplemental Briefing. Dkt. No. 236. The Court will consider only the

                                  17   portions of plaintiffs’ supplemental submission (Dkt. No. 241 (redacted); Dkt. No. 240-3

                                  18   (unredacted)) that do not rely on the Shafiq declaration and exhibits. Those materials filed under

                                  19   seal shall remain under seal; they will not be removed from the docket.

                                  20          Defendant’s supplemental brief is due July 1, 2022, as previously ordered.

                                  21          IT IS SO ORDERED.

                                  22   Dated: June 28, 2022

                                  23

                                  24
                                                                                                   VIRGINIA K. DEMARCHI
                                  25                                                               United States Magistrate Judge
                                  26
                                  27

                                  28
